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SHELBY COUNTY
HEALTH DEPARTMENT

ALISA R. HAUSHALTER, DNP, RN, PHNA-BC BRUCE RANDOLPH, MD, MPH Public Health
DIRECTOR HEALTH OFFICER Brasent: Prasete. Pratent.

   

July 8, 2020
FORMAL ISSUANCE OF HEALTH ORDER AND DIRECTIVE NO. 8

Pursuant to the Declarations of a State of Emergency
by Shelby County Mayor Lee Harris
and the Necessity of a Communicable Disease Control Threat Procedure
by the Shelby County Health Department

 

TO: Residents, Services, Businesses, and Visitors of Shelby County, Tennessee
FROM: Lee Harris, Shelby County Mayor

Bruce Randolph, M.D., M.P.H, Shelby County Health Officer
Alisa Haushalter, DNP, RN, PHNA-BC, Shelby County Health Director

RE: Public Health Announcement on COVID-19 Response

 

Pursuant to the emergency management authority vested in Shelby County,
Tennessee, for coordination of relief efforts in the event of a countywide emergency that may
result in substantial injury or harm to the population, and the necessity to respond to public
health emergencies vested in the Shelby County Public Health Department (“the
Department”), this Health Order and Directive (“Directive”) is being issued to protect the
public health for all citizens and businesses in Shelby County, Tennessee. Those citizens
and owners of businesses described herein and currently within Shelby County, Tennessee
serve as the class of people subject to this Directive. This Directive supersedes all prior
written or oral Health Directives and shall remain in effect unless superseded. This Health
Directive will be modified as needed to account for current and relevant Shelby County
health data. Any changes between this Directive and Directive No. 7 shall take effect
Wednesday, July 8, 2020, at midnight.

EXHIBIT

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All Health Directives involve consultation with a back-to-business task force group
comprised of representatives of key stakeholders in the County, including the City of
Memphis, other municipalities, health officials and doctors, and governmental attorneys.

SARS-CoV-2, the virus that causes COVID-19, is thought to be mostly spread by
respiratory droplets released when people talk, cough, or sneeze. It is thought that the virus
may also spread to hands from a contaminated surface and then to the nose, mouth, or eyes,
causing infection. Therefore, the important personal prevention practices to prevent the
virus’s spread are:

e Staying home when sick

» Limiting close contact with others

¢ Maintaining at least 6 feet of distance from other people

* Wearing a cloth face covering or mask over your nose and mouth (please also
refer to the Shelby County Health Department’s Face Mask Order and
Directive)

* Frequently washing hands with soap and water, or using hand sanitizer (60%
alcohol)

e Cleaning and disinfecting frequently touched surfaces and objects

The goal is safety while balancing the needs of citizens to receive the necessities of
life, i.e., food and shelter, allowing people to work in a safe manner, and further ensuring
the availability of resources to the community. Every effort should be made by providers of
essential and other services to take steps to stop the spread of this deadly disease. These
actions are meant to protect everyone.

This Directive removes certain restrictions on the ability to return to work and
engage in essential activities. It is intended to be a guide toward developing long-term
safety measures, as detailed below, to slow and end the transmission of COVID-19, which
continues to be a direct and deadly threat to the population of Shelby County, Tennessee.
When determining whether a specific Service or Business should reopen, the Department
considers two main factors: the risk of COVID-19 spread when conducting said business
activity in light of the latest science and research about the spread of COVID-19, and the
prevalence of the disease in our community. As prevalence goes down, the level of acceptable
risk increases. This is due to the fact that with low prevalence, the risk that any one person

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is spreading the disease decreases, and, when cases do occur, the Department has better
capacity to conduct intensive contact tracing and monitoring, which are critical to
controlling the spread of COVID-19.

In order to facilitate evolving efforts to expand the opening of services and businesses
in Shelby County, this Directive provides the following guidance on:

1) Safety Measures for Individuals;

2) Safety Measures for all Services and Businesses; and

3) Safety Measures for Services and Businesses that require in-person interaction
with the public or those who otherwise regularly welcome non-employees into
their place of business.

All businesses and services in Shelby County may open for business with the
following exceptions:

1) Bars/Limited Service Restaurants and Clubs (please see
https:/Iwww.tn.gov/abc/licensing/liquor-by-the-drink-licenses.htm] for assistance)

2) Adult entertainment venues; and

3) Schools. (Further guidance on reopening schools will be developed in partnership
with the schools and will be provided well in advance of when schools are
scheduled to reopen for the Fall 2020 school year.)

4) Festivals, fairs, parades, large scale sporting events, and large-scale community
events. (These types of events are under consideration for future purposes).

Nothing in this order restricts the ability of the Department to take targeted action
against specific businesses where COVID-19 outbreaks or clusters occur under The
Department’s standing authorities to control disease outbreaks.

Nothing in this Directive mandates closure of a place of worship or prohibits weddings
or funerals as a matter of law. Weddings may be conducted in any manner that is
permissible under Governor Lee’s Executive Order No. 38. However, places of worship are
strongly encouraged to continue to utilize virtual or online services and gatherings, and are
strongly encouraged to follow guidelines as issued by the State of Tennessee’s Office of
Faith-Based and Community Initiatives regarding any in-person services that can be
conducted safely. Further, it is strongly encouraged that the public celebration component

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of weddings and funerals be postponed or attended only by close family members. Any
modification by the State of Tennessee to this provision must also be followed.

 

1) Safety Measures for Individuals:

Individuals should stay at home when possible and limit unnecessary activity.
Although this Directive allows some individuals to return to work (as provided for
below), the threat of COVID-19 remains very serious. Because avoiding
unnecessary public interactions is critical to protecting the health and safety of
everyone in Shelby County, all persons are still strongly encouraged to continue
to stay at home and to minimize in-person contact with people not in the same
household, except when engaging in essential activities such as employment or
exercise or other activities as outlined in this Directive.

Individuals should practice social distancing, which means keeping at least 6 feet
of space between yourself and other people outside of your home.

Individuals must wear cloth face coverings or masks that cover the nose and
mouth in public settings where being in close proximity to others is anticipated
and particularly where other social distancing measures are difficult to maintain
at all times. Cloth face coverings or masks should not be placed on young children
under the age of two or required of any children twelve and under if they cannot
understand how and when to wear a face mask, anyone who has trouble breathing,
or anyone who is incapacitated or otherwise unable to remove the mask without
assistance.

Individuals must not congregate in groups of more than fifty (50) people,
regardless of social distancing or mask wearing.

Individuals must avoid using communal items and products that are shared with
people who are not of the same household; such items include writing utensils,
condiment containers, and work-related devices.

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Individuals may engage in outdoor activities provided that persons adhere to the
CDC, Tennessee Department of Health, and Shelby County Health Department
health guidelines, including, but not limited to physical activities that utilize
public areas while maintaining the aforementioned safety precautions.

Individuals may assist all businesses that are closed under this Directive with
minimum basic operations consisting in performing activities at their own
residences (1.e., working from home) or at their workplaces in order to maintain
the value of the business’s inventory, ensure security, process payroll and
employee benefits, or for other related, necessary business functions.

 

2) Safety Measures for all Services and Businesses

The following safety measures must be in place for services and businesses to remain
open or to reopen as further specified under “Specific Parameters for Services and
Businesses.” Services and Businesses that may not reopen should consider adopting
these safety measures to prepare for reopening in the future.

Cooperate with health authorities’ efforts to prevent and control the spread of
COVID-19.

Request technical assistance from the Department when needed.

Comply with all federal and state business COVID-19 safety requirements,
whether industry-specific or not, such as the Occupational Safety and Health
Administration (OSHA) requirements.

Place prominent informational signs at entrances and high-traffic areas (such as
entrances and restroom areas) to educate and encourage a partnership of safety
for businesses and the public. Signs must meet or exceed the requirements and
safety guidelines outlined by the CDC at https://www.cdc.gov/coronavirus/2019-
ncov/downloads/stop-the-spread-of-germs.pdf

Place prominent informational signs at entrances and high-traffic areas (such as
entrances and restroom areas) that masks are required within the business.

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Place prominent informational signs at entrances that employees, patrons, and
all others must not enter if they are sick or currently have signs or symptoms of
COVID-19, such as the CDC’s recommended sign located here:
https://www.cdc.gov/coronavirus/2019ncov/downloads/StayHomeFromWork.pdf

¢ Ensure proper ventilation in all indoor areas of any business location.

¢ Require all employees, customers and visitors to wear a mask or cloth face
covering while within their establishments. Employees are not required to wear
masks when at their desk or workstation so long as the workstation is greater

than 6 feet from any other employee and they do not share that workstation with
any other employee.

e Continue promoting frequent and thorough handwashing by providing workers,
customers, and visitors a place to wash their hands or use alcohol-based hand
sanitizer at or near entrances to a facility and other high-traffic areas. It is
strongly encouraged that CDC handwashing guides be placed in all bathrooms
and near any handwashing sink as described at
https://www.cdc.gov/handwashing/pdf/wash-your-hands-poster-english-508. pdf

e Close all water fountains.
e Require workers to stay home if they are sick.

¢ Health checks and screenings for fever (100.4 degrees Fahrenheit) or other signs
and symptoms of COVID-19 must be performed at the start of each employee’s
shift so that any employee that exhibits such symptoms may not enter any
workplace. This includes taking the temperature of employees who are reporting
to work and asking the following:

Have you been in close contact with a confirmed case of COVID-19?
Are you experiencing a cough, shortness of breath or sore throat?
Have you had a fever in the last 48 hours?

Have you had new loss of taste or smell?

Have you had vomiting or diarrhea in the last 24 hours?

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Employees who exhibit COVID-19 symptoms (i.e., by answering yes to any of the
screening questions or who are running a fever) should be directed to leave the
premises immediately and seek medical care and/or COVID-19 testing.

Alternatively, employees may self-validate their status at the beginning of each
shift to their supervisor.

Require any employee who has had contact with a person who tests or has tested
positive for COVID-19 to notify The Department at 901-222-9229.

Develop a plan on how to communicate with customers/patrons if they are exposed
to someone (such as an employee or another patron) who tests positive for COVID-
19. For example, restaurants must maintain seating charts for 21 days to assist
with contact tracing as further explained below.

As determined by the employer and where feasible, allow employees to work from
home or permit flexible worksites and hours (including staggered shifts) to
increase physical distancing among and between employees.

Discourage workers from using other employee’s phones, desks, offices or other
work tools and equipment, when possible. When this is not possible, sanitizers
should be used both prior to use of communal items and immediately after, and
care should be taken not to touch the face.

Increase regular housekeeping practices for all areas to more than twice a day
cleanings, including routine cleaning and disinfecting of surfaces, equipment,
high-touch surfaces, work areas, break rooms, bathrooms, common areas, and any
other areas of the work environment.

Limit the number of people who can enter a facility at any time to no more than
50% of listed occupancy and ensure that people inside can easily maintain a
minimum 6-foot distance from each other at all times, except when necessary to
complete a business transaction such as payment or delivery of goods.

 

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3. Safety Measures for Services and Businesses that require in-person interaction with

the public or those who otherwise regularly welcome non-emplovees into their place of
business

(The following measures are required in addition to the requirements listed above for
all businesses.)

e Where feasible, implement contactless transactions.
e Close all self-service customer bulk-item food and/or supply bins.

Place an employee at entrances to ensure any applicable building occupancy
thresholds (as further delineated below) are not exceeded and customers are
wearing masks prior to entering the store.

e Indicate where lines may form at a facility, marking 6-foot increments as guides
for where individuals should stand to maintain social distancing.

¢ Concession registers should be configured to allow for 6-foot spacing between
customers.

e Consider installing plexiglass barriers at registers and other employee/customer
points of contact.

e If gloves are used by employees, they should be replaced every 30 minutes and
discarded whenever an employee washes his/her hands. If at any time the gloves

become contaminated with a foreign substance, the gloves are to be discarded and
replaced with a new pair.

e Make best efforts to establish hours when they are only available to senior citizens
age 55 and older, pregnant women, and otherwise vulnerable populations and

consider implementing other measures to help serve vulnerable populations, such
as offering delivery services.

e As described above, occupancy limits must not exceed 50% of the allowed
occupancy of the facility.

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* Patrons must not be allowed to congregate in groups larger than six and each

group must maintain social distance of greater than 6 feet from any other group
and follow all appropriate safety procedures. Where the service or business
routinely provides seating or other congregate settings (e.g. tables, benches,
fitness equipment, etc.), each setting or group of seats must be placed more than
6 feet from every other table or group of seats. In the event the business has fixed
seating or equipment, seats and equipment must be closed with signs to allow for
social distancing.

Restaurants, theaters, and other businesses that allow for group activities or
dining (e.g. recreational facilities, pools, etc.) may allow groups to enter together
and act as a “family unit” so long as each group maintains a distance of 6 feet from
all other groups. Regardless of “family unit” status, all patrons must continue to
wear a mask unless eating or drinking. Where these family unit groups are
allowed, the facility must maintain a record of all patrons to include, at a
minimum, first name, last name, time of service/attendance, and cell phone or
other contact number to allow for contact tracing in the event a COVID+ case is
identified. Restaurants must maintain seating charts for 21 days to assist with
contact tracing. Records must be maintained for a minimum of 30 days after the
date on which the service occurred. The Department will provide technical
assistance to any business upon request.

All business that require close contact between patrons and/or employees for the
provision of services (i.e. Nail Salons, Barbershops, Salons, and other personal
appearance businesses) must maintain a record of all patrons including, at a
minimum, first name, last name, time of service, and cell phone number or other
contact number to allow for contact tracing in the event a COVID+ case is
identified. Records must be maintained for a minimum of 30 days after the date
on which the service occurred.

Where practical, businesses are encouraged to use outdoor space for the provision
of services, Restaurants in particular are encouraged to provide outdoor dining.

All communal use of items and products should be prevented, including, for
example, writing utensils, store bags, condiment containers, self-service stations,

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and buffets. All menus or service literature should be disposable, single-patron
usage, and/or accessible by personal electronic devices (e.g., internet website, QR
Code, etc.).

Patrons or facility personnel must clean equipment with disinfecting wipes before
and after each use. Shared equipment that cannot be cleaned in between use is
not allowed.

High-touch areas, such as elevator buttons, door handles, and counters must be
cleaned regularly throughout the day with disinfectant.

Communal showers and locker rooms must be closed to the public; bathrooms
should remain open with regular cleaning and disinfection as required for high-
contact areas. Facilities that would normally require changing clothes prior to
using their services should encourage all patrons to change prior to coming to the
facility; where this is not practical, facilities may allow for a changing area.

Hot tubs must remain closed.

If the layout of the facility is such that ingress/egress would often prompt
encounters of less than 6 feet, facilities must use best efforts to make for one-way
traffic flow and/or specific entrances and exits.

Scholastic and other organized teams not deemed to be high-risk as determined
by the National Federation of State High School Associations may conduct more
comprehensive practices, but contact must be limited and all other social
distancing principles should apply as much as is practicable. High risk sports
include for example wrestling, football, lacrosse, competitive cheer, and dance,
and these activities should not occur at this time.

Daycare and childcare businesses may operate, provided that they prioritize
children of parents working as emergency/first responders or in essential services,
and implement screening procedures, develop safe drop-off and pickup procedures,
ensure additional steps are taken to enhance personal hygiene of employees,
(including wearing face coverings that cover the nose and mouth), and provide
regular sanitization efforts within the facilities themselves. Activities that occur

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at any of these businesses should follow the applicable specific protocols outlined
in this Directive and the current CDC Guidance.

Live music performances are not allowed unless the facility can ensure that each
performer will maintain 18 feet of distance (three times current guidelines for
social distancing) between any other performer, employee, or patron while
singing.

The Shelby County Government Division of Corrections shall follow all safety
precautions as stated in any executive order by Mayor Lee Harris.

Detention facilities: If not already established, Facility administrators should
adopt protocols that house new detainees separately from the inmate population
in order to properly screen and care for the new inmate until such time as the new
inmate can safely be placed in the same environment with the existing inmate
population. If any detained person is released on their own recognizance (ROR) or
makes bond, they should be provided with a copy of the current “Shelby County
Health Order and Directive” and instructed to follow that directive upon release.
Additionally, they shall be provided information (64 grade reading level) about
COVID-19 and “How to Protect Yourself and Others” issued by the CDC:
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html

Nothing in this Directive is intended to delay or impede the release of detained
individuals if they are eligible to be released.

The State of Tennessee has developed statewide guidelines for the following types
of facilities. Each type of facility is required to follow all applicable state guidelines
located online as indicated below (as of July 7, 2020).

1. Restaurants: https://www.tn.gov/governor/covid-19/economic-
recovery/restaurant-guidelines.html.

 

Further, club houses at golf courses, if they qualify as a restaurant under
state law, must comply with the same safety requirements as restaurants,
and all restaurants shall close at 10:00 pm. This means that guests who
are already in the restaurant at 10:00 p.m. may remain there until 10:30
p.m. but may not be served food or beverages after 10:00 p.m. Only staff

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needed to close, open, or clean shall be in any restaurant between the
hours of 10:30 p.m. and 5:00 a.m.

2. Recreational Facilities: https://www.tn.gov/governor/covid-19/economic-
recovery/recreation-guidelines. html
3. Exercise’ Facilities: https://www.tn.gov/governor/covid-19/economic-

 

 

recovery/exercise-facilities-guidelines.html

4. Salons, Barbershops, and Nail Salons, and other personal
appearance businesses that require close contact between patrons
and employees: https://www.tn.gov/governor/covid-19/economic-

 

recovery/close-contact-business-guidelines.html

5. Visitation in Long Term Care Facilities and Assisted Living
Centers:
https://www.tn.gov/content/dam/tn/health/documents/cedep/novel-
coronavirus/LTCF Visitation.pdf. Any positive test result shall be reported
to the Department of Health by 5:00 p.m. of the day following receipt of such
test result. The Department shall have unrestricted access to the facility

 

 

where such access is determined necessary by the Department for purposes
of testing all personnel for COVID-19, and in such circumstances, the
operator and administrator shall cooperate fully to facilitate such testing.

Please contact the Shelby County Health Department if you require technical
assistance regarding any safety parameters.

 

In conclusion, the aforementioned guidelines set forth in this Directive present, at
this time, the least restrictive means by which transmission of COVID-19 may be slowed
while also permitting businesses to reopen and remain open.

The Shelby County Health Department, with the assistance of the Shelby County
Sheriffs Office, is authorized to take emergent and immediate action to enforce this
Directive.

 

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Requirement to Collect Demographic Data.

Any health care provider located in Shelby County, Tennessee that provides COVID-
19 testing or clinical care shall provide to the Shelby County Health Department (SCHD),
as requested by the SCHD, demographic data regarding individuals tested or cared for by
the provider. Such data shall be in such forms, formats and/or schedules that the SCHD will
reasonably specify to the provider by written guidelines, including by way of example and
without limitation the following data: gender, race, ethnicity, date of birth or other indicia
of age, and such other demographic-based clinical information that the SCHD deems

relevant and necessary to respond to and serve the needs of Shelby County related to the
COVID-19 pandemic.

Approved and adopted by:

 

LEE HARRIS,
SHELBY COUNTY MAYOR

 

BRUCE RANDOLPH, M.D., M.P.H.,
SHELBY COUNTY HEALTH OFFICER

 

ALISA HAUSHALTER, DNP, RN, PHNA-BC,
SHELBY COUNTY HEALTH DIRECTOR

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